                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  NORTHERN DIVISION


 GLOBAL AEROSPACE, INC.,

 Plaintiff / Counter-Defendant,
                                                Case No.: 3:15-cv-105
 v.
                                                District Judge Pamela L. Reeves
 PHILLIPS AND JORDAN,
 INCORPORATED i/s/a/ PHILLIPS &                 Magistrate Judge C. Clifford Shirley
 JORDAN, INC.,

 Defendant / Counter-Plaintiff,

 v.

 AMERICAN ALTERNATIVE INSURANCE
 CORPORATION, et al.,

 Counter-Defendants.


                                            ORDER

        THIS CAUSE comes before the Court on the Joint Motion for Order Pursuant to Federal

 Rule of Evidence 502(d) [Docket Entry #63], filed by Defendant/Counter-Plaintiff Phillips and

 Jordan, Incorporated, Plaintiff/Counter-Defendant Global Aerospace, Inc., Counter-Defendant

 American Alternative Insurance Corporation, Counter-Defendant American Commerce Insurance

 Company, Counter-Defendant Mitsui Sumitomo Insurance Company of America, Counter-

 Defendant National Indemnity Company, and Counter-Defendant Tokio Marine America

 Insurance Company. The Court has reviewed the record and is otherwise fully advised in the

 premises.

        It is hereby ORDERED as follows:
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                 1. The Joint Motion for Order Pursuant to Federal Rule of Evidence 502(d)

          [Docket Entry #63] is GRANTED.


                 2. In the above-captioned matter, the attorney-client privilege and attorney

          work product protection are not waived by disclosure connected with the instant

          litigation, that such a disclosure is also not a waiver in any other federal or state

          proceeding, and that nothing in this Order will prevent the Parties from performing a

          reasonable review of their respective documents for privilege before production to the

          opposing party(ies).


       IT IS SO ORDERED.




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